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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA :
v. . Criminal No. JFM-09-0328
HARVEY NUSBAUM, ET AL. *
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ORDER

Upon consideration of Fred Schulte’s motion to intervene and to unseal portions of the
record (document 225), it is, this 10" day of February 2011

ORDERED

1. The motion is granted in part and denied in part;

2. Fred Schulte is granted leave to intervene; and

3. The Clerk is directed to send in paper copy to Mr. Schulte (a) a copy of the Sentencing
Memorandum filed by the United States, (b) the Addendum Attachment A (a declaration of John
Reiff) to the Sentencing Memorandum, and (c} Addendum Attachment B (a letter from the

United States to defense counsel) from which the Clerk is to redact the first paragraph.

 

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ee 8 United States District Judge
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